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IN THE UNITED STATES DISTRICT COURT... LED sen
FOR THE NORTHERN DISTRICT OF [TEXA
FORT WORTH DIVISION APR 4

UNITED STATES OF AMERICA

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v. No. Lc eenemeenncennenen oO OE et

ZACKEY RAHIMI (01)

INDICTMENT

The Grand Jury Charges:
Count One
Firearm Possession While Under Domestic Violence Restraining Order
(Violation of 18 U.S.C. §§ 922(¢)(8) and 924{a)(2))

On or about January 14, 2021, in the Fort Worth Division of the Northern District
of Texas, defendant Zackey Rahimi, knowing he was subject to a court order issued in
the 324th Judicial District Court of Tarrant County, Texas, on February 5, 2020, cause
number 324-675717-20, that was issued after a hearing of which he received actual
notice, and at which he had an opportunity to participate, that restrained him from
harassing, stalking, or threatening an intimate partner and a child of an intimate partner,
and restrained him from engaging in other conduct that would place an intimate partner in
reasonable fear of bodily injury to the partner and a child of the intimate partner, that by
its terms explicitly prohibited the use, attempted use, or threatened use of physical force
against such intimate partner and a child of such intimate partner that would reasonably

be expected to cause bodily injury, and that included a finding that the defendant was a

credible threat to the physical safety of the intimate partner and child of the intimate

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partner, did knowingly possess in and affecting interstate and foreign commerce, a Glock,
model 21 Gen 4, .45 caliber pistol, bearing serial number YBX386, and a Century Arms,
model C308 Sporter, .308 caliber rifle, bearing serial number C308E32588.

In violation of 18 U.S.C. §§ 922(2)(8) and 924{a)(2).

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Forfeiture Notice
(18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c))

Upon conviction of the offense alleged in count one of this indictment, and under
18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), defendant Zackey Rahimi shall forfeit to
the United States of America any firearm and ammunition involved in or used in the
knowing commission of the offense, mcluding but not limited to, the following: a Glock,
model 21 Gen 4, .45 caliber pistol, bearing serial number YBX386, and a Century Arms,

model C308 Sporter, .308 caliber rifle, bearing serial number C308E32588,

A TRUE BILL

blip

FOREPERSON

PRERAK SHAH
ACTING UNITED STATES ATTORNEY

foc FRANK {GATTO

Assistant United States Attorney
Texas Bar No. 24062396
Burnett Plaza, Suite 1700
801 Cherry Street, Unit #4
Fort Worth, Texas 76102
Telephone: 817-252-5200
Facsimile: 817-252-5455

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

THE UNITED STATES OF AMERICA
Vv.

ZACKEY RAHIMI (01)

INDICTMENT

18 U.S.C. §§ 922(¢)(8) and 924(a)(2)
Firearm Possession While Under Domestic Violence Restraining Order
1 Count

18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)
Forfeiture Notice

A true bill rendered

FORT WORTH

Filed in open court this 14th day of April, 2021.

ES MAGISTRATE JUDGE

UNITED SPAM
€ Court Number: 4:21-MJ-041-BI
